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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


UNITED STATES OF AMERICA                    )
                                            )
              v.                            )    Criminal No.: 1:19-cr-00007-JAW
                                            )
DOUGLAS GORDON                              )


                                  SPEEDY TRIAL ORDER
       This matter comes before the Court upon the parties’ Joint Motion to Continue Trial

and Motion for Date Certain. Currently trial is set for August 6, 2019 and a continuance is

requested to a date certain of October 21, 2019. In the motion, the parties make the following

representations.


       The defendant is not in custody and conditions of release were entered on January 31,

2019. A Speedy Trial Order was entered by the Court on February 22, 2019, granting the

defendant’s motion to continue the trial to August 6, 2019. At the time the defendant moved

to continue the trial, the discovery material exceeded 100,000 pages. The discovery material

produced by the government since filing of the motion for a continuance now exceeds

180,000 pages. Defense counsel will require additional time to review the voluminous

discovery material produced in this case. Further, a Superseding Indictment was returned on

April 17, 2019, charging the defendant with engaging in a mail fraud scheme.


       Counsel for the government anticipates they will introduce testimony from more than

two dozen witnesses and that more than five days will be required to present the government’s

case-in-chief. Many witnesses will travel from out of state. In disclosing to the witnesses that

trial of the case will be scheduled on or after August 6, 2019, one or more witnesses and/or

defense counsel indicated they will be not be available during various periods of time from

August 6, 2019 through October 21, 2019. In addition, the Clerk has informed counsel that

the trial cannot be conducted during two of the weeks of September. In order to permit the
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defense with sufficient time to review discovery material and prepare a defense to the

additional offense charged in the Superseding Indictment and in order to avoid conflicts with

pre-scheduled events of witnesses and counsel, the parties respectfully request that this case

be set to begin on the date certain of October 21, 2019 and end during the week of October

28, 2019 to November 1, 2019.


       Defendant is aware of his rights under the Speedy Trial Act, 18 U.S.C. § 3161 as it

applies to the time from the indictment to trial and knowingly and voluntarily waives those

time limits by asking the Court to exclude from the Speedy Trial calculations, the entire time

period of the continuance sought.


       After full consideration of the representations of the parties in this case and after full

consideration of the record in this case, the court hereby incorporates such representations as

findings of fact. Taking into consideration the factors set forth in Title 18, United States

Code, Section 3161(h)(7)(B), the Court can and does find that the ends of justice served by

the requested continuance outweigh the best interests of the public and the defendant in a

speedy trial.


      IT IS HEREBY ORDERED THAT:
                1.      The parties’ Joint Motion to Continue Trial and Motion for Date Certain
                 is hereby GRANTED.
                2.       This case is to be continued from the August 2019 trial list to the October
                2019 trial list and to begin trial on the date certain of October 21, 2019 and end
                during the week of October 28, 2019 to November 1, 2019.

                3.      The time period between August 6, 2019 and October 21, 2019 for trial is
                hereby excluded from calculations under the Speedy Trial Act, Title 18, United
                States Code, Section 3161 et seq.




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SO ORDERED.
     Dated this 23rd day of April, 2019.


                                           /s/ John A. Woodcock, Jr.
                                           JOHN A. WOODCOCK, JR.
                                           U.S. DISTRICT JUDGE




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